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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

Vv.

DIMITRE HADJIEV : Criminal No. 19-548

TRIAL STIPULATIONS
The defendant named above, in his own right and by his counsel, and the United States of
America, by its attorneys, Jacqueline C. Romero, United States Attorney for the Eastern District
of Pennsylvania and K.T. Newton, Assistant United States Attorney, agree and stipulate as
follows:
1. TD Bank was a financial institution, the deposits of which were insured by the
Federal Deposit Insurance Corporation for the time period between January 1, 2015
and December 31, 2018.
2. Wells Fargo Bank was a financial institution, the deposits of which were insured by
the Federal Deposit Insurance Corporation for the time period between January 1,

2015 and December 31, 2018.
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3. Citizens Bank was a financial institution, the deposits of which were insured by the

Federal Deposit Insurance Corporation for the time period between January 1, 2015

and December 31, 2018.

STIPULATED AND AGREED TO:

DIMIT DJIEV
Defenda

Dated: November £2 2022

JACQUELINE C. ROMERO
United States Attorney

LT Jew sor

K.T. NEWTON
Assistant United States Attorney

LAE
NIEL CEVALLOS, Esquire
Counsel for Defendant Dimitre Hadjiev

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PETER SCUDERI, Esquiré

Counsel for Defendant Dimitre Hadjiev

#ANIEL PELL, Bsquire.
Counsel for Defendant Dimitre Hadjiev
